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                     9                                      UNITED STATES BANKRUPTCY COURT
                 10                                                      DISTRICT OF NEVADA
                 11                                                                   —ooOoo—
                 12      In Re:                                                            Case No. BK-N-14-50333-BTB
                 13      ANTHONY THOMAS and                                                Chapter 11
                         WENDI THOMAS,
                 14                                                                        MOTION FOR AUTHORITY TO PAY
                                             Debtors,                                      ORDINARY MONTHLY LIVING
                 15                                                                        EXPENSES NUNC PRO TUNC
                 16                                                                        Hearing Date: OST Pending
                                                                                           Hearing Time: OST Pending
                 17      __________________________________/
                 18                Debtors, ANTHONY THOMAS and WENDI THOMAS (the “Debtors”), by and through
                 19      their counsel Holly E. Estes, Esq., of the Law Offices of Alan R. Smith, hereby file their Motion
                 20      For Authority To Pay Ordinary Monthly Living Expenses Nunc Pro Tunc. This motion is based
                 21      upon the Declaration of Anthony Thomas, the following points and authorities, pleadings, papers
                 22      and other records contained in this Court’s file, judicial notice of which is respectfully requested,
                 23      and any evidence or oral argument presented at the time of the hearing on this motion.
                 24      ///
                 25      ///
                 26      ///
                 27      ///
                 28
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                     1                               MEMORANDUM OF POINTS OF AUTHORITIES
                     2   I.        BACKGROUND FACTS
                     3             1.        On March 4, 2014 (the “Petition Date”), the Debtors filed their voluntary petition
                     4   for relief under Chapter 11 of the Bankruptcy Code.1
                     5             2.        The Debtors are authorized to manage their affairs as Debtors-in-Possession
                     6   pursuant to §§ 1107(a) and 1108 of the Bankruptcy Code.
                     7   II.       JURISDICTION AND VENUE
                     8             3.        This Court has jurisdiction over this matter pursuant to 28 U.S.C. § 157 and 1134.
                     9   This is a core proceeding pursuant to 28 U.S.C. § 157(b)(2)(A) and (M).
                 10                4.        The statutory basis for the relief sought herein are Sections 105, 1107 and 1108 of
                 11      the Bankruptcy Code, Bankruptcy Rules 6003 and 6004, and LR 4001(c).
                 12                5.        Venue of the Debtors’ Chapter 11 case in this district is proper pursuant to 28
                 13      U.S.C. § 1408 and 1409.
                 14      III.      LEGAL ARGUMENT
                 15                A.        Applicable legal authorities.
                 16                Section 541 defines property of the estate to include nearly all of the Debtors’ property
                 17      rights and interests. In the case of an individual Chapter 11 debtor, 11 U.S.C. § 1115 further
                 18      expands the definition of property of the estate to include the debtor’s post-petition earnings, and
                 19      specifically provides:
                 20                (a)       In a case in which the debtor is an individual, property of the estate
                                             includes, in addition to the property specified in section 541-
                 21
                                             (1)       all property of the kind specified in section 541that the debtor
                 22                                    acquires after the commencement of the case but before the case is
                                                       closed, dismissed, or converted to a case under Chapter 7, 12, or 13,
                 23                                    whichever occurs first; and
                 24                          (2)       earnings from services performed by the debtor after the
                 25
                 26                1
                                All references to “Chapter” and “Section” herein shall be to the Bankruptcy Code
                 27      appearing in Title 11 of the U.S. Code; all references to “Bankruptcy Rule” shall refer to the
                         Federal Rules of Bankruptcy Procedure; all references to a “Local Rule” shall refer to the
                 28      Local Rules of Bankruptcy Practice of the U.S. District Court for the District of Nevada.
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                     1                                 commencement of the case but before the case is closed, dismissed,
                                                       or converted to a case under Chapter 7, 12, or 13, whichever occurs
                     2                                 first.
                     3             (b)       Except as provided in section
                     4             Neither the Code nor the legislative history provide any guidance as to whether or how an
                     5   individual Chapter 11 debtor may retain any post-petition income to pay his or her ordinary
                     6   course of business and living expenses prior to plan confirmation.
                     7             Section 1129(a)(15) provides:
                     8                         In a case in which the debtor is an individual and in which the holder
                                       of an allowed unsecured claim objects to the confirmation of the plan-
                     9                         (A) the value, as of the effective date of the plan, of the property to
                                       be distributed under the plan on account of such claim is not less than the
                 10                    amount of such claim; or
                 11                             (B) the value of the property to be distributed under the plan is not
                                       less than the projected disposable income of the debtor (as defined in section
                 12                    1325(b)(2) to be received during the 5-year period beginning on the date that
                                       the first payment is due under the plan, or during the period for which the
                 13                    plan provides payments, whichever is longer.
                 14                Section 1325(b)(2) allows for an individual debtor to include as a deduction against
                 15      disposable income those costs that are reasonably necessary for the “maintenance and support of
                 16      the debtor or a dependant of the debtor” and necessary business expenses. “Disposable income”
                 17      is defined as, “current monthly income received by the debtor. . .less amounts reasonably
                 18      necessary to be expended for the maintenance or support of the debtor or a dependent of the
                 19      debtor. . ..”
                 20                Accordingly, in determining the amount of a debtor’s disposable income that must be
                 21      distributed to creditors under a plan of reorganization, one must first deduct those amounts
                 22      required to pay the debtor’s reasonably necessary personal and business expenses. See In re
                 23      Rodemeier, 374 B.R. 264 (Bankr. D. Kans. 2007).
                 24                Further, since an individual debtor is permitted to pay his or her reasonably necessary
                 25      personal and business expenses from post-petition earnings under his or her plan of
                 26      reorganization, they should also be permitted to use their post-petition earnings and income to
                 27      pay their ordinary course personal and business expenses post-petition and pre-confirmation.
                 28      ///
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                     1             VI.       Conclusion
                     2             The Debtors respectfully request that this Court approve their use of post-petition
                     3   earnings to pay their reasonably necessary living expenses nunc pro tunc. The Debtors’ budget is
                     4   attached to the Declaration of Anthony Thomas.
                     5             DATED this 21st day of March, 2014.
                     6                                                                LAW OFFICES OF ALAN R. SMITH
                     7                                                                       /s/ Holly E. Estes
                                                                                      By: _____________________________
                     8                                                                       Holly E. Estes, Esq.
                                                                                             Attorney for Debtors
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